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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


  MISSOURI, KANSAS, and IDAHO,
                 Intervenor-Plaintiffs,

         v.                                                 Case No. 2:22-cv-00223-Z

  U.S. FOOD AND DRUG ADMINISTRATION, et al.,
                  Defendants,

         and

  DANCO LABORATORIES, LLC,
                Intervenor-Defendant,

         and

  GENBIOPRO, INC.,
                       Intervenor-Defendant.


               DANCO’S REPLY IN SUPPORT OF MOTION TO DISMISS
                INTERVENOR-PLAINTIFFS’ AMENDED COMPLAINT
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                                         INTRODUCTION

        The States cannot cure the fundamental defects in their suit. Missouri, Kansas, and Idaho

 lack venue in Texas. As intervenors, the States cannot piggyback on the Alliance Plaintiffs’

 dismissed, jurisdictionally defective lawsuit. The States also lack standing in their own right; their

 counterarguments rewrite fundamental Article III standing rules. To top it off, the States failed to

 administratively exhaust their claims and their challenge to the 2016 changes is untimely. The

 States’ amended complaint should be dismissed.

                                            ARGUMENT

   I.   Missouri, Kansas, And Idaho Plainly Lack Venue In Texas.

        The States do not dispute that no party resides in this district. 28 U.S.C. § 1391(e)(1)(A),

 (C). They do not defend the basis for venue asserted in their Complaint—that “a substantial part”

 of the events “giving rise to the claims occurred in this district.” ECF No. 217 ¶ 34. Nor do the

 States contest that “[a]n existing suit within the court’s jurisdiction is a prerequisite” to

 intervention. Harris v. Amoco Prod. Co., 768 F.2d 669, 675 (5th Cir. 1985) (citation omitted).

 Those concessions end this case: There is no independent basis for venue, and there is no “existing

 suit within the court’s jurisdiction” because the Alliance Plaintiffs “lack standing to challenge

 FDA’s actions,” FDA v. Alliance for Hippocratic Med., 602 U.S. 367, 374 (2024), meaning “the

 District Court did not have jurisdiction,” United States v. Texas, 599 U.S. 670, 686 (2023).

        The States’ insistence that they may nevertheless proceed in this district hinges on the

 remarkable assertion that the Alliance Plaintiffs “did have standing when they sued.” ECF No.

 228 at 2. Accepting that argument requires outright defying the Supreme Court’s 9-0 decision that

 the Alliance Plaintiffs “lack standing to challenge FDA’s actions.” Alliance, 602 U.S. at 374; see

 Alliance for Hippocratic Med. v. FDA, 117 F.4th 336, 340, 342 (5th Cir. 2024) (Ho, J., concurring)

 (lower courts must “follow [Supreme Court] precedents, whether [they] agree with them or not”).


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        The States do not identify any case in which a court allowed a plaintiff to piggyback on a

 lawsuit over which the court lacked jurisdiction. Nor can the States distinguish the authorities

 holding courts must dismiss or transfer a case once the venue-creating party is dismissed. E.g.,

 ECF No. 222 at 9-10 n.1. The States assert (without citation) that these cases involve situations

 where the venue-creating plaintiff “is conclusively determined to lack standing at the outset.” ECF

 No. 228 at 9. But Danco cited multiple cases decided at summary judgment or years into

 litigation.1 The States also insist that these cases hold “only that a court can transfer or dismiss a

 case where it determines that the party satisfying venue lacks standing.” Id. But there is no such

 discretion:   When “venue is improper,” “the case must be dismissed or transferred under

 § 1406(a).” Atl. Marine Constr. Co. v. U.S. Dist. Ct. for W. Dist. of Tex., 571 U.S. 49, 56 (2013).

        The States’ other arguments are wrong and irrelevant. The Supreme Court did not hold the

 Alliance Plaintiffs “lost standing,” ECF No. 228 at 2; it unanimously concluded the Alliance

 Plaintiffs “lack standing.” Alliance, 602 U.S. at 374. Mootness, not standing, “addresses whether

 an intervening circumstance has deprived the plaintiff of a personal stake in the outcome of the

 lawsuit,” West Virginia v. EPA, 597 U.S. 697, 719 (2022) (citation, quotation marks, and brackets

 omitted), and the Supreme Court did not hold the Alliance Plaintiffs’ suit moot.2 That means the


 1
   E.g., Kruse v. Wells Fargo Home Mortg., Inc., No. 1:02-cv-03089, 2006 WL 1212512, at *1
 (E.D.N.Y. May 3, 2006); Dayton Area Chamber of Com. v. Becerra, No. 3:23-cv-00156, 2024
 WL 3741510, at *3 (S.D. Ohio Aug. 8, 2024); Ga. Republican Party v. SEC, 888 F.3d 1198, 1201
 (11th Cir. 2018); Merchs. Fast Motor Lines, Inc. v. ICC, 5 F.3d 911, 914, 921-922 (5th Cir. 1993).
 2
   The States ascribe their “lost standing” theory to Judge Ho, ECF No. 228 at 2, 8, but his
 concurrence said only that this Court and the Fifth Circuit believed Plaintiffs had standing, but the
 Supreme Court held otherwise. 117 F.4th at 340, 342 (Ho, J., concurring). Judge Ho never
 suggested the Alliance Plaintiffs had standing before the Supreme Court’s decision. After all,
 standing is assessed “at the time the action commences,” Stringer v. Whitley, 942 F.3d 715, 719,
 724 (5th Cir. 2019) (citation omitted), and “if the [plaintiff] lacks standing, then there is no Article
 III suit to begin with,” Flecha v. Medicredit, Inc., 946 F.3d 762, 769 (5th Cir. 2020). Moreover,
 the Government did not change its position, contra ECF No. 228 at 2; see Alliance for Hippocratic



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 Alliance Plaintiffs never had the interest necessary to invoke this Court’s jurisdiction.

        The States cannot avoid dismissal by recasting the motions to dismiss as motions to

 reconsider this Court’s intervention ruling. Even if Danco and the Government had moved for

 reconsideration, the “clearly erroneous” standard would not apply. Contra ECF No. 228 at 9.

 Reconsideration prior to judgment is governed by Rule 54(b), which permits the court “to

 reconsider and reverse its decision for any reason it deems sufficient.” Austin v. Kroger Tex., L.P.,

 864 F.3d 326, 336 (5th Cir. 2017) (per curiam) (citation omitted). It would be “sufficient” for this

 Court to correct its abuse of discretion in granting intervention “based on an erroneous view of ”

 standing law. Id. at 329 (citation omitted).

        Finally, the States argue (at 6) that Danco waived its venue challenge by intervening. But

 Danco intervened in the Alliance Plaintiffs’ lawsuit before the States intervened. Since then,

 Danco and the Government have objected to the States’ venue at every step. See ECF No. 212 at

 5. Danco’s intervention two years before the States filed their amended complaint does not

 “deprive [Danco] of any of [its] procedural defenses.” SEC v. Ross, 504 F.3d 1130, 1150 (9th Cir.

 2007). In any event, the Government’s venue objection puts the issue squarely before the Court.

  II.   This Court Lacks Jurisdiction Over The States’ Claims.

        A.      The States Cannot Piggyback On A Dismissed, Jurisdictionally Defunct Suit.

        The States brush aside Danco’s and the Government’s jurisdictional objections, claiming

 that the Fifth Circuit allows “intervention as of right in a jurisdictionally and procedurally proper

 suit that has been dismissed voluntarily.” ECF No. 228 at 10 (quoting Sommers v. Bank of Am.,


 Med. v. FDA, 78 F.4th 210, 236 (5th Cir. 2023) (“[FDA and Danco] defend FDA’s actions on the
 ground that federal law would allow the Doctors to refuse care based on a conscientious
 objection.”), and any (nonexistent) change was irrelevant to the Supreme Court’s holding that the
 Alliance Plaintiffs lack standing “[n]ot only as a matter of law” because federal conscience laws
 “speak clearly,” “but also as a matter of fact” because the Alliance Plaintiffs had not alleged “any
 instances” where doctors were forced over objections to provide care. 602 U.S. at 387-388.


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 N.A., 835 F.3d 509, 513 n.5 (5th Cir. 2016)). The States also make much of Harris, see id. at 7-

 10, which allowed the intervenor to “continue litigating after the main plaintiffs ha[d] settled out

 of a lawsuit” over which the court had jurisdiction. 768 F.2d at 682. Therein lies the crucial

 distinction: These cases involve an original “jurisdictionally and procedurally proper suit,” which

 never existed here because the Alliance Plaintiffs (1) lacked standing, and (2) their voluntary

 dismissal without prejudice “leaves the situation as if the action had never been filed,” and takes

 down with it interlocutory orders like intervention. ECF No. 222 at 11-12 (quoting Long v. Bd. of

 Pardons & Paroles of Tex., 725 F.2d 306, 307 (5th Cir. 1984)).

        B.      The States Lack Standing.

        1. The States allege indirect economic injuries connected to FDA’s actions by a long,

 convoluted chain of independent actors—the same kind of expansive theory based on the “indirect

 effects” of “federal policies . . . on state revenues or state spending” the Supreme Court has rejected

 as too “attenuated” under Article III. Texas, 599 U.S. at 680 n.3. The States do not mention Texas

 at all in discussing economic injury, and they have no counter to the fact that their capacious theory

 would sweep in challenges by States to almost every federal action. See ECF No. 222 at 16-17.

        The States instead trot out an inapplicable truism. Monetary harm can confer standing—

 but not the States’ attenuated, speculative allegations of future Medicaid or insurance costs. The

 States’ cited cases (at 16-17) fall far short of helping them here. TransUnion LLC v. Ramirez, 594

 U.S. 413, 425 (2021), merely recites the rule that monetary harm can be concrete injury. And the

 challenged program in Biden v. Nebraska “directly injure[d]” the State by costing it “$44 million

 a year in fees” under existing contracts. 600 U.S. 477, 489-490 (2023). FDA’s challenged actions

 do not directly impact the States’ finances, see ECF No. 222 at 15-16—hence why they can only

 speculate about “distant . . . ripple effects” on their budgets. Alliance, 602 U.S. at 383.

        The States (at 19) also quote Alliance’s recital that “government regulation of a third-party


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 individual or business may” “cause injury in fact to an unregulated plaintiff.” 602 U.S. at 384.

 But not all unregulated plaintiffs conceivably touched by government action experience Article III

 injury. Nor are the States analogous to the car insurance plaintiffs that directly bore the costs of

 relaxed motor vehicle safety standards in Motor Vehicle Mfrs. Ass’n of U.S. v. State Farm Mut.

 Auto. Ins. Co., 463 U.S. 29 (1983). Indeed, the States’ theory would permit them to take those car

 insurers’ places and challenge federal car safety regulations simply because Medicaid covers some

 of the “hundreds of thousands” injured in traffic accidents. Id. at 33. In any event, State Farm

 “assumed [standing] without discussion,” and such “drive-by jurisdictional rulings . . . have no

 precedential effect.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 91 (1998).

        The States try (at 18) to close the glaring gaps in their standing theory by citing Department

 of Commerce v. New York, 588 U.S. 752 (2019). In that case, States alleged that adding a census

 citizenship question would cause noncitizen residents to fail to respond, leading to a direct loss of

 federal funds distributed based on state population. Id. at 767. The Supreme Court found standing

 because adding the question would reduce response rates among noncitizens, “rendering the causal

 link between the addition of the question and the loss of federal funds sufficiently direct.” Arizona

 v. Biden, 40 F.4th 375, 386 (6th Cir. 2022) (Sutton, J.). By contrast, FDA’s actions do “not impose

 any direct costs on the States or threaten the loss of any federal funding”; “[a]ny downstream costs

 . . . to the States come about via” discretionary choices of independent actors and “the States’ other

 social-welfare policy choices.” Id.; see also Murthy v. Missouri, 603 U.S. 43, 68 n.8 (2024).

        Even setting that aside, the States cannot identify a single instance in which they paid for

 care traceable to each of FDA’s challenged actions, as opposed to the 2000 approval. Instead, they

 cite vague figures like an “estimate” that “a dozen” Missouri Medicaid enrollees experience

 “abortion-drug ER visits” each year, ECF No. 228 at 17; ECF No. 217 ¶ 694, claiming this proves




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 that somewhere in their annual budget (Medicaid or public hospital line item), they ultimately pay

 for something (physical or mental healthcare) for someone (Medicaid enrollee or public employee)

 because of a medication abortion traceable to the challenged actions.3 That is about as far from

 “direct costs” as one can get. See Arizona, 40 F.4th at 386. It plainly is not a “much closer”

 connection than in Department of Commerce. Contra ECF No. 228 at 19. The States’ response—

 pointing (at 18-20) to the generic approval and an alleged increase in all abortions, including

 medication abortions, “from all of FDA’s actions”—just highlights these problems. It does

 nothing to trace alleged costs to each challenged change, as required to allege “standing for each

 claim that they press.” TransUnion, 594 U.S. at 431.

        The States’ suggestion (at 20) that Danco needs standing further displays their confusion.

 Danco is not invoking this Court’s jurisdiction; it is the States’ “right to be here,” ECF No. 228 at

 20, that depends on establishing standing—which requires alleging injuries causally linked to each

 of FDA’s challenged actions. For the reasons explained, they have not.

        2. The States also lack standing based on their milieu of “sovereign harms.” ECF No. 228

 at 11. First, the States do not have standing based on the so-called “risk of federal preemption and

 federal interference with enforcement of state law.” Id. at 12. Their “evidence” of imminent harm

 is former Attorney General Garland’s comment that “States may not ban Mifepristone based on

 disagreement with the FDA’s expert judgment about its safety and efficacy.” ECF No. 217 ¶¶ 250-

 251. That focus on the underlying 2000 approval shows the States cannot trace their injuries to

 the post-2000 actions they challenge. See Lewis v. Casey, 518 U.S. 343, 357 (1996). Years after



 3
   Danco cited the States’ own complication data to highlight that the chain of calculations behind
 their economic harms estimate—which is already “too speculative or otherwise too attenuated to
 establish standing,” Alliance, 602 U.S. at 390—also is replete with statistical cherry-picking. See
 ECF No. 222 at 16-17 n.5. Regardless, the Court can take judicial notice of these relevant, publicly
 available facts. See, e.g., Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011).


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 the FDA actions that Missouri, Kansas, and Idaho do challenge took effect, none of those States

 have been sued—by the federal government or anyone else. Clapper v. Amnesty Int’l USA, 568

 U.S. 398, 409 (2013) (risk of injury must be “certainly impending” (citation omitted)).

        United States v. Texas also bars the States’ suit. As in that case, the States here cannot

 maintain a lawsuit against the federal government based on its deregulatory actions or alleged

 underenforcing of federal law. 599 U.S. at 681. Nor can FDA’s actions, which in no way limit

 States’ abilities to pass their own laws restricting mifepristone, “make legal under state law what

 used to be illegal.” ECF No. 228 at 14. The States again invoke Department of Commerce (at 14-

 15), but that case said nothing about supposed downstream effects of federal law on state law. For

 good reason: Allowing standing on that basis would be “unprecedented and limitless,” Alliance,

 602 U.S. at 391, as it is “not at all uncommon for the Federal Government to permit activities that

 a State chooses to forbid or heavily restrict,” Gamble v. United States, 587 U.S. 678, 690 (2019).

        Second, the States’ vague assertions of “sovereign ‘benefits’ ” that “flow from participation

 in the federal system” cannot confer standing. ECF No. 228 at 15 (quoting Alfred L. Snapp & Son,

 Inc. v. Puerto Rico, ex rel., Barez, 458 U.S. 592, 608 (1982)). “A State does not have standing as

 parens patriae to bring an action against the Federal Government.” Snapp, 458 U.S. at 610 n.16.

 As Snapp explained, when a State sues to “secur[e] observance of the terms under which it

 participates in the federal system,” that is a suit arising “[i]n the context of parens patriae actions”

 because it seeks to enforce “the benefits that are to flow from participation in the federal system.”

 Id. at 607-608. That is exactly what the States are attempting here.4 Moreover, the States’ attempt




 4
   The States’ citation (at 15) to Crow Indian Tribe v. United States, 965 F.3d 662 (9th Cir. 2020),
 is equally misplaced. That case found standing to challenge the vacatur of a rule delisting grizzly
 bears as endangered species; the plaintiff States could only regulate grizzly hunting if the delisting
 rule was in place. See id. at 676. FDA’s regulations impose a floor—not a ceiling.


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  (at 15) to characterize the supposed “risks of mifepristone as harms to the state itself is a ‘thinly

  veiled attempt to circumvent the limits on parens patriae standing.’ ” Washington v. FDA, 108

  F.4th 1163, 1178 (9th Cir. 2024) (quoting Murthy, 603 U.S. at 76).

         Finally, the States’ population-loss theory is not supported by Department of Commerce

  either. The injury in that case was not “mere undercounting,” as the States claim (at 16).

  Undercounting in connection with the census led directly to cognizable injuries like “the

  concomitant loss of congressional seats and federal funding.” Murthy, 603 U.S. at 68 n.8. If

  undercounting or population loss could alone establish standing, any State could challenge any

  federal action that could impact the State’s population count, even years in the future.

  III.   The States Failed To Exhaust Administrative Remedies, And No Exception Applies.

         FDA’s regulations and a litany of cases show parties must exhaust administrative remedies

  prior to suing. ECF No. 219 at 12-13; ECF No. 222 at 21-22. The States’ only response is that

  FDA’s regulations do not include the term “inoperative.” ECF No. 228 at 23 (quoting 5 U.S.C.

  § 704). That provision applies only when dealing with “an appeal to superior agency authority,”

  5 U.S.C. § 704, which FDA’s exhaustion requirement is not, see 21 C.F.R. § 10.30(e); cf. Darby

  v. Cisneros, 509 U.S. 137 (1993) (petitioner failed to appeal hearing officer decision to Secretary).

         The Court should not excuse the States’ failure to exhaust. Unlike in Harris, 768 F.2d at

  678-682, where the issues fully overlapped, the Alliance Plaintiffs’ citizen petition omitted several

  of the States’ challenges—including those pertaining to State law. The Alliance Plaintiffs also

  never filed citizen petitions challenging FDA’s 2021 or 2023 actions. Courts regularly hold that

  FDA deserves a “fair and full opportunity” to evaluate claims like the States’ in the first instance.

  Woodford v. Ngo, 548 U.S. 81, 90 (2006). For these same reasons, the States have made no

  showing that exhaustion would be futile. Tesoro Refin. & Mktg. Co. v. FERC, 552 F.3d 868, 874

  (D.C. Cir. 2009). And if FDA delays responding to a citizen petition by the States, the States can


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  sue over that. 5 U.S.C. § 555(b).

         The States also argue (at 23-24) that exhaustion is not required if the agency exceeds its

  authority. But the case from which they derive that theory declined to excuse a failure to exhaust

  and said in dicta that an exception might be warranted if agency action was “in excess of statutory

  authority,” “likely to result in individual injustice,” “disruptive of the legislative scheme,” and

  “contrary to an important public policy.” Myron v. Martin, 670 F.2d 49, 52 (5th Cir. 1982). None

  of the States’ challenges tick all those boxes—especially not the challenge to the 2016 changes,

  the thrust of which is an arbitrary-and-capricious argument about “interrelated” changes. ECF No.

  217 ¶ 760.

  IV.    The States’ Challenge To The 2016 Changes Is Time Barred.

         The States’ challenge to the 2016 changes is untimely. First, “Intervenors’ claims cannot

  relate back to the original filing date” when the court lacked “subject-matter jurisdiction over the

  original complaint.” Lopez v. Sw. Airlines Co., No. 3:08-cv-01975, 2013 WL 12121233, at *6

  (N.D. Tex. July 10, 2013); e.g., White v. Louisiana, 178 F.3d 1291 (5th Cir. 1999) (per curiam).

  When a party “intervene[s] after the statute of limitations” has “expired” and the original plaintiffs

  lacked standing, there is nothing for the intervenor’s claims to “relate back to.” Lopez, 2013 WL

  12121233, at *2. As for Harris, the statute there required parties to file a charge with the agency

  before suing; if the agency sued on its own behalf, it had to first investigate the claims. 768 F.2d

  at 672, 676 & nn.2, 4. Private parties sued, the agency intervened, the private parties settled. The

  agency could proceed because exhaustion was satisfied; Harris said nothing about timeliness.

         Second, the States’ “right to file suit” arose in 2016, when the challenged changes occurred.

  Corner Post, Inc. v. Bd. of Governors of Fed. Rsrv. Sys., 603 U.S. 799, 809 (2024) (quotation

  marks omitted). Even before Dobbs, Idaho and Missouri limited prescribing rights to physicians,

  Idaho required “reasonable efforts” to ensure in-person follow-ups, and Missouri required two in-


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  person appointments.       Idaho Code §§ 18-607(2), 18-617, 18-608A; Mo. Rev. Stat.

  §§ 188.021, 188.020, 188.080. Post-Dobbs, Idaho still permits abortions at ten weeks and beyond

  in certain circumstances, and Missouri still permits abortions up to viability. Idaho Code §§ 18-

  622, 18-608; see ECF No. 222 at 19; CHPPGP v. State, No. 2416-CV31931 (Mo. Cir. Ct., Jackson

  Cnty. Dec. 20, 2024) (enjoining 8-, 14-, 18-, and 20-week bans), as amended (Feb. 14, 2025). And

  Kansas, whose Constitution guarantees abortion rights, cannot identify any post-Dobbs changes.

         Third, for these reasons, even assuming binding precedent is a “legal disability” for tolling

  purposes—which the States provide no support for—Roe did not impose such a disability. See 28

  U.S.C. § 2401(a) & notes (explaining this term was used to describe minors or mentally impaired).

         Fourth, Corner Post cannot save the States. Justice Jackson’s dissent warned of challenges

  by a “brand new entity”—which the States are not. 603 U.S. at 861-862 (Jackson, J., dissenting).

  Nor can the States invoke a continuing injury theory. Their alleged injury from FDA’s lack of

  “legal authority when issuing the” 2016 changes accrued in 2016. ECF No. 217 ¶ 758.

         Finally, the 2021 citizen petition denial did not reopen the 2016 changes. The Fifth Circuit

  never said otherwise; it held that “[t]he record does not bear out” the claim that “FDA reopened

  the 2000 Approval” in 2021. Alliance, 78 F.4th at 244. Nor is it enough that FDA’s 2021 denial

  “reviewed the [2016] conditions for use.” Id. The 2021 decision did not “significantly alter[ ] the

  stakes of judicial review.” Nat. Res. Def. Council v. EPA, 571 F.3d 1245, 1266, 1270 (D.C. Cir.

  2009) (per curiam) (citation omitted). If the fact that one agency action is “related” to another

  could “restart the . . . clock,” no agency action would ever be final. Nat’l Mining Ass’n v. U.S.

  Dep’t of Interior, 70 F.3d 1345, 1351 (D.C. Cir. 1995).

                                          CONCLUSION

         The Court should grant the motions to dismiss the States’ amended complaint.




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                                         Respectfully submitted,


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  May 5, 2025
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                                 CERTIFICATE OF COMPLIANCE

           I hereby certify that this brief complies with Local Rule 7.2 in that it does not exceed 10

  pages.

                                                         /s/ Jessica L. Ellsworth
                                                         Jessica L. Ellsworth
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                                   CERTIFICATE OF SERVICE

          I certify that on May 5, 2025, I electronically filed the foregoing using the CM/ECF

  system. Notice of this filing will be sent by operation of the Court’s electronic filing system to

  all parties of record.

                                                        /s/ Jessica L. Ellsworth
                                                        Jessica L. Ellsworth
